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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,

                              Plaintiff/Respondent,

vs.
                                                       ORDER
                                                       Cr. No. 95-24(1) (MJD)

Alexander Faulkner,

                              Defendant/Petitioner.

___________________________________________________________________

      Petitioner is pro se.

__________________________________________________________________

      Petitioner has moved the Court for reconsideration of this Court’s Order

dated December 21, 2005 denying his motion for relief pursuant to Rule 60(b) of

the Federal Rules of Civil Procedure. Petitioner had previously moved for

reconsideration, and such motion was denied by Order dated February 8, 2006.

      Local Rule 7.1(g) provides that motions for reconsideration are prohibited

except by express permission of the Court, which will be granted only upon a

showing of compelling circumstances. The Court will treat Petitioner’s motion for

reconsideration as a request to file such a motion.
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      The Court has reviewed Petitioner’s second submission and again finds no

compelling circumstances upon which to grant permission to file a motion for

reconsideration.

      Accordingly, Petitioner’s request to file a motion for reconsideration is

DENIED.

Date: May 22, 2006



                                               s / Michael J. Davis
                                               Michael J. Davis
                                               United States District Court
